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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ARDAGH METAL PACKAGING USA
CORP.,
                                                     Case No. 1:22-cv-07367 (JCD) (JA)
                  Plaintiff,

       v.

AMERICAN CRAFT BREWERY LLC,

                  Defendant.


                                   JOINT STATUS REPORT

       In accordance with the Court’s December 6, 2024 Order (Dkt. No. 237), the parties

respectfully submit this joint status report indicating whether they will meet the December 20,

2024 deadline to exchange initial expert reports.

       Ardagh’s Position: Ardagh’s position is that the December 20 deadline for initial expert

reports should not be extended again. If the Court grants ACB’s extension request below, Ardagh

respectfully requests that this same extension apply to both sides’ expert reports.

       ACB’s Position: ACB’s position is that the pending fact discovery disputes (Dkt. 201, 215,

221, 226, 229, 232 and 237) directly bear on the matters that will be addressed by experts, and thus

to avoid the costs and inefficiency of supplementing expert reports after the discovery disputes are

resolved, the expert schedule dates should be reset by 4-weeks (for both parties) to allow for these

discovery disputes to be addressed by the Court and fact discovery to be completed first.




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Respectfully submitted this the 9th day of December, 2024,

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f/k/a Ardagh Metal Beverage USA Inc.,

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